CaSe: 2218-md-02846-EAS-KA.] DOC #Z 93 Filed: 01/24/19 Page: 1 Of 2 PAGE|D #Z 1480

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846
INC., POLYPROPYLENE HERNIA

MESH PRODUCTS LIABILITY
LITIGATION CHIEF .]`UDGE EDMUND A. SARGUS, JR.

Magistrate Judge Kimberly A. J olson

This document relates to:
ALL ACTIONS.

CASE MANAGEMENT OR])ER NO. 8-A
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Pursuant to Case Management Order No. 8, each Plaintiff in an action in MDL 2846 shall
complete and serve upon Defendants via email a completed Plaintifl` Proflle Form. The agreed to
Plaintiff Protile Form, which is attached to CMO 8, includes a Lirnited Authorization to Disclose
Health Inforrnation pursuant to the Health lnsurance Portability and Accountability Act
(hereinafter, “HIPAA Authorization”).

The parties agree that, if a Plaintiff does not date the HIPAA Authorization forwarded to
Defendants, then Defendants can date the HIPAA Authorization with the date the Plaintiff Profile
Form was served via email to Defendants. Leaving the date on the HIPAA Authorization blank
when forwarded to Defendants shall not constitute a deficiency under CMO 8.

Individual Plaintiffs’ counsel may, by agreement, allow Defendants to fill in any other
missing information to avoid a deticiency, including health care provider, patient name, social

security number, or date of birth. ln no event shall this consent be construed to allow Defendants

CaSe: 2218-md-O2846-EAS-KA.] DOC #Z 93 Filed: 01/24/19 Page: 2 Of 2 PAGE|D #Z 1481

to fill in a provider that is not listed in the Plaintiil`Proiile Fonn unless Defendants receive express
written authorization from Plaintiff’s counsel in an individual case.

Absent an agreement, not including information in the Authorization, other than the date
as discussed above, will be addressed pursuant to CMO 8. Not signing the HIPAA Authorization

is considered a deficiency under CMO 8.

 

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DATE EDM 1) sARGUs, JR.

CHIE ED STATES DISTRICT JUDGE

DATE KIMBERLY A. 0Ls0N \

WITED STATES MAGISTRATE .]`U])GE

 

